§ Case 2:05-Cr-20204-.]DB Document 8 Filed 06/03/05 Page 1 of 2 Page|D 33

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Clerk. of Court an 51?&§5&'335@| HQ
Jackson 901- 427- 6586
Fax 901-427-9210

DATE: March 16, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 2:05€1:`20204 B/V
UNITED STATES OF AMERICA vs. Ward Crutchfield

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Documents, arrest warrant executed, hearing of initial appearance,
acknowledgment of receipt and review of notice and explanation of rights,
Rule 5 removal hearing waiver, Order setting conditions of release, Order to
appear in district of prosecution, as to the above-named defendant, have been
received from the United States District Court, Middle District of Tennessee.
Please refer to document #7 in the case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

@LMMW

P@puty'€ler?:j

cc: Mag. Diane K. Vescovo
Casemanager

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

